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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTOICT OF LOUISIANA


  UNITED STATES OF AMERICA CRIMINAL ACTION

  VERSUS

  KEATON L. COPELAND NO 17-00084-BAJ-EWD



                                 RULING AND ORDER

       Before the Court is Defendant's Motion For Compassionate Release, Or,

In The Alternative, For Release On Bail Pending Appeal (Doc. 288). The

Government opposes Defendant's Motion. (Doc. 291; Doc. 296; Doc. 300; Doc. 308;


Doc. 310; Doc. 319; Doc. 321; Doc. 327; Doc. 328; Doc. 331). Defendant filed reply

briefs. (Doc. 302; Doc. 313; Doc. 318; Doc. 324). For the following reasons, Defendant's


Motion is DENIED.

   I. BACKGROUND

       Following a jury trial, Defendant Keaton L. Copeland was found guilty on

five counts of wire fraud and- one count of conspiracy to commit wire fraud. (Doc. 259).


       On October 24, 2019, Defendant was sentenced to 120 months of imprisonment

on Counts One through Six, to run concurrently. (Doc. 259, p. 2).


      Defendant appealed the Judgment imposed on October 24, 2019. (Doc. 252).

The appeal is currently pending before the United States Court of Appeals for the

Fifth Circuit. (See Doc. 285).

      Defendant is currently incarcerated at FCI Coleman Low. (Doc. 288, p. 1). His




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projected release date is May 5,2028.1

       Defendant now moves for "compassionate release" pursuant to


18U.S.C. § 3582(c)(l)(A)(i). (Doc. 288). Defendant claims that release is warranted

due to his obesity, which creates a higher risk of serious health consequences should

he contract COVID-19. (Doc. 288-1, p. 3-4).


       In the alternative, Defendant requests release on bail pending appeal.


(Doc. 288). The Court previously denied this request made in a previous Motion and

need not repeat its full reasoning here. (Doc. 255; see Doc. 330 for full statement of


reasons).


   II. LEGAL STANDARD

       A judgment, including a sentence of imprisonment, "may not be modified by a

district court except in limited circumstances." Dillon v. United States,


560 U.S. 817, 825 (2010). A defendant seeking compassionate release must satisfy the

Court that (1) "extraordinary and compelling reasons warrant such a reduction," and


(2) the reduction is "consistent with applicable policy statements issued by the

Sentencing Commission." See 18 U.S.C. § 3582(c)(l)(A)(i); United States v. Mathes,

No. CR 14-69-SDD-EWD, 2020 WL 4014748, at *1 (M.D. La. July 16, 2020)

(Dick, C.J.) ("Generally, the defendant has the burden to show circumstances meeting

the test for compassionate release. ).


       When, as here, the defendant files a motion for compassionate release on his


own behalf, the Court's discretion is bound only by § 3582(c)(l)(A)(i) and, as always,




1 See https://www.bop.gov/inmateloc/ (last visited Oct. 26, 2021).

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the sentencing factors in § 3553(a)." United States v. Shkambi, 993 F.3d 388, 393

(5th Cir. 2021). Still, even if the Sentencing Commission's guidance is not dispositive,

it nonetheless informs the Court s analysis as to what reasons may be sufficiently


extraordinary and compelling to merit compassionate release." United States v.


Thompson, 984 F.3d 431 (5th Cir.), cert. denied, 141 S. Ct. 2688 (2021).

      -Relevant here, the Sentencing Commission has expressly recognized that, in


certain circumstances, a Defendant's "medical condition" may rise to the level of an


 extraordinary and compelling reason to merit compassionate release. Specifically,


the Sentencing- Commission advises that "extraordinary and compelling reasons" may


be established upon proof that an illness is "terminal," "serious," or "substantially


diminishes the ability of the defendant to provide self-care within the environment of

a correctional facility and from which he or she is not expected to recover."


U.S.S.G. §1BL13 (Commentary, Application Note 1).

   III. DISCUSSION

      Defendant moves for compassionate release pursuant to


18U.S.C. § 3582(c)(l)(A)(i). (Doc. 288). Defendant claims that release is warranted

due to his obesity, which creates a higher risk of serious health consequences should

he contract COVID-19. (Doc. 288-1, p. 3-4).


      The Government responds that the Court lacks jurisdiction to grant

compassionate release. (Doc. 291, p. 9).


        [A]n appeal of a judgment determining the entire action divests the district

court of jurisdiction, while that appeal is pending, over any further matters for that

action, except in aid of the appeal or to correct clerical errors. United States v. Pena,

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713 F. App'x 271, 272-73 (5th Cir. 2017) (quoting Nicol v. Gulf Fleet Supply Vessels,

Inc., 743 F.2d 298, 299 (5th Cir. 1984)). The Court has three options in a case such as

this where "a timely motion is made for relief that the court lacks authority to grant

because of an appeal that has been docketed and is pending." United States v. Watts,


No. OR 16-104, 2020 WL 3036545, at *2 (M.D. La. June 5, 2020) (Africk, J.) (citing

Fed. R. Grim. P. 37(a)). The Court may defer considering the motion; deny the motion;

or state either that it would grant the motion if the court of appeals remands for that

purpose or that the motion raises a substantial issue. Id. (citing


Fed. R. Grim. P. 37(a)).


      The Court agrees with the Government that it lacks jurisdiction over the

instant Motion because Defendant s appeal is still pending before the Fifth Circuit.

Accordingly, the Court will exercise its second option under Rule 37(a) and deny

Defendant s Motion without prejudice to renew if the Court re-acquires jurisdiction.

See Watts, 2020 WL 3036545, at *2 (Africk, J.) ("The Court agrees with the

government that it lacks jurisdiction over the instant motion [for compassionate

release] because [the defendant's] appeal is still pending before the Fifth Circuit.

Therefore, the Court will exercise its second option under Rule 37(a) and deny the

motion without prejudice to renew if this Court re-obtains jurisdiction. ); see also

United States v. James, No. CR 18-21-SDD-RLB, 2021 WL 4392492, at *1

(M.D. La. Sept. 24, 2021) (Dick, C.J.) (same); United States v. Bays,

No. 3:13-CR-0357"B-l, 2020 WL 5370550, at *3 (N.D. Tex. Sept. 8, 2020) ("The Court

agrees with the majority of other lower courts that it lacks jurisdiction over



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[defendants motion for compassionate release] because the requested relief involves


his sentence—an aspect of this case that is currently before the Fifth Circuit. And


because the Fifth Circuit currently possesses jurisdiction over [defendant's] sentence,


this Court necessarily does not. ).


   IV. CONCLUSION

       Accordingly,

       IT IS ORDERED that the Defendant's Motion For Compassionate

Release (Doc. 288) is DENIED without prejudice to renew if the Court re-acquires

jurisdiction.

       IT IS FURTHER ORDERED that Defendant's Motion In The Alternative

For Release On Bail Pending Appeal (Doc. 288) is DENIED. (See Doc. 330).

       IT IS FURTHER ORDERED that Defendant's Motion for Expedited

Consideration Regarding Same (Doc. 289) is DENIED.




                           Baton Rouge, Louisiana, this L^:—» day of November, 2021




                                        JUDGE BRIANsA. JACKSON
                                        UNITED STATEST>ISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA
